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                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

In re:                               )
EDWARD L. BRANDYBERRY,               )                   Bankruptcy No. 19-22616-GLT
       Debtor(s)                     )
                                     )                   Chapter 13
AMERICREDIT FINANCIAL SERVICES, INC. )
dba GM FINANCIAL,                    )
         Movant                      )                   Document No. 71
                                     )
     v.                              )
                                     )                   Response Deadline: 2/24/22
EDWARD L. BRANDYBERRY                )
  FRANCES W. BRANDYBERRY,            )                   Hearing Date: 3/9/22 at 10:30 AM
        Respondent(s)                )
                                     )
RONDA J. WINNECOUR,                  )
        Trustee                      )

  MOTION FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY

   AmeriCredit Financial Services, Inc. dba GM Financial (“Movant/Creditor”), by its counsel

moves this Court for an Order granting relief from the stay provided for by 11 U.S.C. §362 and

co-debtor stay provided for by 11 U.S.C. 1301, stating as follows:

        1.     A Chapter 13 petition was filed on June 28, 2019.

        2.     This Court has jurisdiction of the matter pursuant to 11 U.S.C. §362, §1301, and

     28 U.S.C. §157(b)(2).

        3.     On April 4, 2019, the Debtor and the Co-Debtor Frances W. Brandyberry entered

     into a retail installment sales contract for the purchase of a 2018 Nissan Altima bearing

     vehicle identification number 1N4AL3AP1JC135390 (the “Vehicle”). The contract was

     assigned to AmeriCredit Financial Services, Inc. and the Debtor(s) became indebted to

     AmeriCredit in accordance with the terms of same. To secure payment of the contract, the

     Debtor caused the title to the Vehicle to be delivered to AmeriCredit. As a result,

     AmeriCredit is the holder of a first purchase money security interest encumbering the




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    Vehicle. AmeriCredit Financial Services, Inc. now does business as GM Financial. True

    copies of the contract and title to the Vehicle are annexed hereto as Exhibits A and B.

        4.     Movant’s best information is that there is no other entity claiming a lien on the

    Vehicle.

        5.     The Vehicle as involved in an accident and deemed a total loss.

        6.     The total amount due as of February 2, 2022 was $10,851.27, plus reasonable

    attorneys’ fees and costs.

        7.     The retail value of the Vehicle is $19,800.00 according to the NADA Official

    Used Car Guide, February 2022 edition.

        8.     Movant avers that there is good cause to grant relief from the automatic stay and

    co-debtor stay for the following reasons:

               a. The Vehicle was involved in an accident and deemed a total loss;
                  GM Finanical requires stay relief and co-debtor relief in order to apply the
                  insurance proceeds to the account.



       WHEREFORE, Movant prays that the Court grant the relief requested and issue the
attached proposed Order.




       Dated: 2/7/22
                                      Respectfully submitted,

                                      /s/ William E. Craig
                                      By: William E. Craig, Esquire
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